                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


LUMINOR CONSULTING CORP.;                        )
DLC ELITE LENDING CORPORATION;                   )
HEARD CONCRETE CONSTRUCTION                      )
CORP.; THOMAS DAVIS; and                         )
KEVIN HARRISON,                                  )
                                                 )
         Plaintiffs,                             )
                                                 )
v.                                               )      Civil Action No. 3:22-cv-00555
                                                 )      Judge Eli J. Richardson
                                                 )      Magistrate Judge Frensley
                                                 )
                                                 )      JURY DEMAND
                                                 )
DR. ADEL ELMESSIRY and                           )
WEBDBTECH, INC.,                                 )
                                                 )
         Defendants/Counter-plaintiff,           )
                                                 )
v.                                               )
                                                 )
LUMINOR CONSULTING CORP.,                        )
EMTECH, HEARD CONCRETE                           )
CONSTRUCTION CORP., ANISH PABARI,                )
ROB ABENANTE, TOM DAVIS, and                     )
JEFFREY HOU YIN HO,                              )
                                                 )
         Counter-defendants.                     )

  COUNTERCLAIM DEFENDANTS’ MOTION TO DISMISS COUNTS III AND IV OF
         THE DEFENDANT WEBDBTECH, INC.’S COUNTERCLAIM

         Counterclaim Defendants Luminor Consulting Corporation (“Luminor”), Thomas Davis

(“Davis”), Anish Pabari, Jeff Hou Yin Ho, Heard Concrete Construction Corporation (“Heard”),

and EMTech, by Davis and Heard (collectively, the “Counter-defendants”), by counsel, in

accordance with Federal Rule Civil Procedure 12(b)(6), hereby move this Honorable Court to

dismiss Counts III and IV of the Defendant WebDBTech, Inc.’s Counterclaim. The Counter-
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defendants incorporate by reference their Memorandum of Law in support of this Motion, filed

contemporaneously herewith. Accordingly, the Counter-defendants ask that this Honorable Court

enter an Order granting this Motion and dismiss Counts III and IV of the Counterclaim.



                                                   Respectfully submitted,


                                            s/ Charles H. Williamson
                                            Charles H. Williamson (TN BPR 018287)

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                                            Attorneys for Luminor Consulting Corporation;
                                            DLC Elite Lending Corporation; Heard Concrete
                                            Construction Corp.; Thomas Davis; Kevin Harrison;
                                            Anish Pabari; and Jeff Hou Yin Ho




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                                  CERTIFICATE OF SERVICE


        I hereby certify that on October 7, 2022, a copy of the foregoing was filed electronically.
Notice of this filing will be sent by operation of the Court’s electronic filing system to all parties
indicated on the electronic filing receipt. All other parties will be served by regular U.S. mail.
Parties may access this filing through the Court’s electronic filing system.

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Counsel for Defendant and Counter-Plaintiff WebDBTech, Inc.



                                                      /s/ Charles H. Williamson___________
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                                               Elite Lending Corporation; Heard Concrete
                                               Construction Corp.; Thomas Davis; Kevin Harrison;
                                               Anish Pabari; and Jeff Hou Yin Ho




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